Case 1:21-cr-00393-DNH Document 6 Filed 11/10/21 Page 1of5

Query Reports

Help What's New Log Out

CLOSED,FPD,PURG

US District Court Electronic Case Filing System
District of Utah (Southern Region)
CRIMINAL DOCKET FOR CASE #: 4:21-mj-00075-PK-1

Case title: USA v. Pence

Date Filed: 10/27/2021

 

Assigned to: Magistrate Judge Paul Kohler

Defendant (1)
Christopher Pence

Pending Counts
None

Highest Offense Level (Opening)

None

Terminated Counts

None

Highest Offense Level (Terminated)
None

Complaints

18:1958-7471.F Use of Interstate
Commerce Facilities in the Commission of
Murder-For-Hire

represented by Robert K. Hunt

FEDERAL PUBLIC DEFENDER
DISTRICT OF UTAH

46 W BROADWAY STE 110
SALT LAKE CITY, UT 84101
(801)524-4010

Email: robert_hunt@fd.org

LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Public Defender or
Community Defender Appointment

Disposition

 

Disposition

Disposition

 

Notice Party
Pretrial Noticing

represented by Pretrial Noticing
Case 1:21-cr-00393-DNH Document 6 Filed 11/10/21 Page 2 of 5

Email:

utpml_Pretrialnoticing@utp.uscourts. gov
PRO SE

 

Plaintiff
USA

represented by Stephen Patrick Dent
US ATTORNEY'S OFFICE
20 N MAIN ST STE 208
ST GEORGE, UT 84770
435-680-4421
Email: stephen, dent@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Assistant US Attorney

 

Date Filed

Docket Text

 

10/27/2021

[—

Arrest (Rule 5) of Christopher Pence Warrant out of the USDC Northern District of New
York. Assigned to Magistrate Judge Paul Kohler (jlh) (Entered: 10/27/2021)

 

10/27/2021

ORDER SETTING HEARING as to Christopher Pence Initial Appearance - Rule 5 set for
10/28/2021 at 09:00 AM in Room 2B (St George) before Magistrate Judge Paul Kohler.
Signed by Magistrate Judge Paul Kohler on 10/27/2021 .(jlh) (Entered: 10/27/2021)

 

10/27/2021

ORDER SETTING HEARING as to Christopher Pence Initial Appearance - Rule 5 set for
11/1/2021 at 10:00 AM in Room 2B (St George) before Magistrate Judge Paul Kohler.
(hearing changed from 10/28 to 11/1 due to jail location) Signed by Magistrate Judge Paul
Kohler on 10/27/2021 .(jlh) (Entered: 10/27/2021)

 

10/28/2021

ORDER SETTING HEARING as to Christopher Pence Initial Appearance - Rule 5 set for
10/29/2021 at 09:00 AM in Room 2B (St George) before Magistrate Judge Paul Kohler.
Signed by Magistrate Judge Paul Kohler on 10/28/2021.Glh) (Entered: 10/28/2021)

 

10/29/2021

Minute Entry for proceedings held before Magistrate Judge Paul Kohler: Initial
Appearance in Rule 5/5.1 Proceedings as to Christopher Pence held on 10/29/2021.
Defendant present with counsel and in custody. Defendant waives right to personal
appearance for purposes of this hearing. Defendant requests counsel. Financial Affidavit to
be submitted. Court appoints FPD counsel, Robb Hunt. Defendant is advised of rights.
Defendant waives identity hearing. Defendant acknowledges identity on the record.
Government is seeking detention in this matter. Detention hearing set. The Court orders
defendant detained in USMS custody pending further order.

Detention Hearing set for 11/1/2021 at 10:00 AM in Room 2B (St George) before
Magistrate Judge Paul Kohler.

Attorney for Plaintiff: Stephen Dent, Attorney for Defendant: Robb Hunt, FPD.
Interpreter: Not Needed. Probation Officer: Devin Dalton. Court Reporter: Electronic.
(Time Start: 8:58, Time End: 9:05, Room 2B St. George.) (jlh) (Entered: 10/29/2021)

 

 

10/29/2021

 

 

DOCKET TEXT ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to
Christopher Pence No attached document.

Representation shall continue for any post-sentencing activities initiated by the US

 
Case 1:21-cr-00393-DNH Document 6 Filed 11/10/21 Page 3of5

Probation Office. Signed by Magistrate Judge Paul Kohler on 10/29/2021.(jlh) (Entered:
10/29/2021)

 

10/29/2021

ORDER OF TEMPORARY DETENTION as to Christopher Pence Signed by Magistrate
Judge Paul Kohler on 10/29/2021.(jlh) (Entered: 10/29/2021)

 

11/01/2021

loo

**SEALED DOCUMENT** PRETRIAL SERVICES REPORT as to-Christopher-Pence - -
(rmd) (Entered: 11/01/2021)

 

11/01/2021

Minute Entry for proceedings held before Magistrate Judge Paul Kohler: Status
Conference as to Christopher Pence held on 11/1/2021. Defendant present with counsel
and in custody. After consulting with counsel and being advised of rights, defendant
waives personal appearance for this hearing. Counsel for defendant request continuance.
Government does not object. Court grants motion.

Detention Hearing set for 11/3/2021 at 11:00 AM in Room 2B (St George) before
Magistrate Judge Paul Kohler.

Attorney for Plaintiff: Stephen Dent, Attorney for Defendant: Paul Riddle, FPD.
Interpreter: Not Needed. Probation Officer: Devin Dalton. Court Reporter: Electronic.
(Time Start: 10:03, Time End: 10:08, Room 2B St. George.) (jlh) (Entered: 11/01/2021)

 

11/03/2021

10

Minute Entry for proceedings held before Magistrate Judge Paul Kohler: Status
Conference as to Christopher Pence held on 11/3/2021. Government is seeking detention.
The defendant reserves his right to a detention hearing in the District of Offense. The court
orders the defendant detained and remanded to the USMS custody for transportation to the
charging district.

Attorney for Plaintiff: Stephen Dent, Attorney for Defendant: Robb Hunt, CJA.
Interpreter: Not Needed. Probation Officer: Devin Dalton. Court Reporter: Electronic.
(Time Start: 10:57, Time End: 11:08, Room 2B St. George.) (jlh) (Entered: 11/04/2021)

 

11/04/2021

WAIVER of Rule 5(c)(3) Hearing by Christopher Pence (jlh) (Entered: 11/04/2021)

 

11/04/2021

mt ek
Nh | j—

COMMITMENT TO ANOTHER DISTRICT as to Christopher Pence. Defendant
committed to District of Northern District of New York. Signed by Magistrate Judge Paul
Kohler on 11/3/2021 .(jlh) (Entered: 11/04/2021)

 

11/04/2021

NOTICE OF TRANSMITTAL that case 4:21-mj-00075 has been transferred to Northern
District of New York per order entered 11/3/2021. Docket sheet and documents attached.
Your case number 1:21-mj-511-DJS. (If you require certified copies of any documents,
please send a request to utdecf_clerk@utd.uscourts.gov. If you wish to designate a
different email address for future transfers, send your request to
InterDistrictTransfer_TXND@txnd.uscourts.gov.) sent. (jlh) (Entered: 11/04/2021)

 

 

11/08/2021

 

 

Notice of Appearance. U.S. Probation and Pretrial Services hereby advises the Court that
Pretrial Noticing should be added to this case as to Christopher Pence (kk) (Entered:
11/08/2021)

 

 
Case 1:21-cr-00393-DNH Document 6 Filed 11/10/21 Page 4of5

FILED

Case 4:21-mj-00075-PK Document 11 Filed 11/04/21 Page!0.12 Page lof1 2021 NOV 4 AM 11:05
CLERK

U.S. DISTRICT COURT

AO 466A (Rev. 12/17) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)

UNITED STATES DISTRICT COURT

 

for the
__ District of Utah__
United States of America )
v. Case No. 4:21-mj-00075-PK
)
Christopher Pence ) Charging District’s Case No. 1:21-mj-511-DJS
Defendant

WAIVER OF RULE 5 & 5.1 HEARINGS
(Complaint or Indictment)

I understand that I have been charged in another district, the (name of other court) Northern District of New York

 

 

Ihave been informed of the charges and of my rights to:

Q) retain counsel or request the assignment of counsel if [ am unable to retain counsel;

(2) an identity hearing to determine whether I am the person named in the charges;

(3) production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

(4) a preliminary hearing to determine whether there is probable cause to believe that an offense has been
committed, to be held within 14 days of my first appearance if I am in custody and 21 days otherwise,
unless I have been indicted beforehand.

(5) a hearing on any motion by the government for detention;
(6) request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

1 agree to waive my righi(s\dian 11:08
an identity heart 15 84flotion of the warrant,
a preliminary hearing.

a a detention hearing.

an identity hearing, production of the judgment, warrant, and warrant application, and any preliminary
or detention hearing to which I may be entitled in this district. I request that my

RY preliminasy hearing and/or [_]detention hearing be held in the prosecuting district, at a time set by
that court.

I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.

Date: \}3 ese we! S ee far Onistyer Renee
Aer

Signature of defendant's attorney

RRA > e dae

Printed name of defendant's attorney
Case 1:21-cr-00393-DNH Document 6 Filed 11/10/21 Page 5of5
Case 4:21-mj-00075-PK Document 12 Filed 11/04/21 PagelD.12 Page 1of1

AO $4 (Rev. 06409) Commitment to Another District

 

 

UNITED STATES DISTRICT COURE.2 8 2N'TEP stares pi...
, for the BEd Bie Ue,
District of Utah NOV 0 3 2021
United States of America ) py: MARK JONES, CLERK
v. ) ~
) Case No. 4:21-mj-00075 BRT UTY CLERK
)
Christopher Pence ) Charging District’s
Defendant ) Case No. __1:21-mj-511-DJS

COMMITMENT TO ANOTHER DISTRICT

The defendant has been ordered to appear in the Northern District of New York ;

(if applicable) division. The defendant may need an interpreter for this language:

 

The defendant: () witt retain an attomney.

dl is requesting court-appointed counsel.
The defendant remains in custody after the initial appearance.

IT IS ORDERED: The United States Marshal must transport the defendant, together with a copy of
this order, to the charging district and deliver the defendant to the United States Marshal for that district, or to
another officer authorized to receive the defendant. The marshal or officer in the charging district should
immediately notify the United States attorney and the clerk of court for that district of the defendant’s arrival
so that further proceedings may be promptly scheduled. The clerk of this district must promptly transmit the
papers and any bail to the charging district.

Date: 11/3/2021

 

Judge's signature

Magistrate Judge Paul Kohler

 

Printed name and title

f

 
